Case 1:05-cv-01030-.]DT-STA Document 6 Filed 06/09/05 Page 1 of 2 Page|D 14

 

 

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WESTERN DISTRICT oF TENNESSEE F¢‘}?}/& fog
Eastern Division "'/‘”?'C,j§;C`/*
JUDGMENT IN A CIVIL CASE
DAVID A. WILLIAMS,
V.
CORRECTIONS CORPORATION CASE NUMBERZ 1205-1030-T/An

OF AMERICA, ET AL.,

Decision by Court. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

lT IS ORDERED AND ADJUDGED that in compliance With the order entered in the

above-styled matter on 6/7/2005, this case is hereby DISMISSED. It is further CERT[FIED that
any Appeal by plaintiff is not taken in good faith.

APPROVED:

JA D. TODD
UNI D STATES DISTRICT JUDGE

 

ROBERT R. Di TROLIO

 

 

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DATE DEPUTY CLERK 7 '

This document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(a) FRCP on (.U | |Q l l )§§ .

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01030 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

David Williams

W.C.F.A.

334807

P.O. Box 679

Whiteville, TN 38075--067

Honorable J ames Todd
US DISTRICT COURT

